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lN THE UN|TED STATES DlSTRlCT COURT '/ '

FOR THE WESTERN DlSTRlCT OF TENNESS_E§E*FFL.`Yl 15 fii"i 91 lO
WESTERN DIVIS|ON

 
  

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uNiTED sTATEs oF AMERch, * wm ran ,'?‘i"""' “‘§
Plaintiff, *
v. : Crimina| No. 02-20257-N|a
MARlo MoNTELL sTEwART, *
*

Defendant.

 

ORDER

 

Upon motion of the United States and for good cause shown, it is hereby
ORDERED that the indictment in this case is DiSM|SSED.

rt is so ORDERED this 13 nway of MA, 2005.

SAMUEL H. MAYS
UN|TED STATES DlSTRlCT COURT

 

Submitted y:

A_A/

Stuart J. Canaie
Assistant United States Attorney

 

 

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Honorable Samuel Mays
US DlSTRlCT COURT

